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                            EXHIBIT 1
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13Jun2024... 2326EBA
                                               2024 SESSION
                                                                                                  24-2111
                                                                                                  08/10

HOUSE BILL              1569-FN
AN ACT             relative to eliminating voter identification exceptions.

SPONSORS:          Rep. Lynn, Rock. 17

COMMITTEE:         Election Law

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                                                  ANALYSIS

     This bill removes any exceptions for proving voter identification. This bill also removes the voter
affidavits as proof of identification and repeals the procedures for affidavit ballots.

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Explanation:      Matter added to current law appears in bold italics.
                  Matter removed from current law appears [in brackets and struckthrough.]
                  Matter which is either (a) all new or (b) repealed and reenacted appears in regular type.
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                                             STATE OF NEW HAMPSHIRE

                                   In the Year of Our Lord Two Thousand Twenty Four

     AN ACT              relative to eliminating voter identification exceptions.

               Be it Enacted by the Senate and House of Representatives in General Court convened:

1        378:1 Determining Qualifications of Applicant; General Voter Registration. RSA 654:12 is repealed
2    and reenacted to read as follows:
3        654:12 Determining Qualifications of Applicant.
4            I. When determining the qualifications of an applicant desiring to register to vote, whether the
5    applicant seeks to register before election day or on election day, the supervisors of the checklist, or the
6    town or city clerk, shall require the applicant to present proof of citizenship, age, domicile, and identity as
7    provided in the following categories:
8                 (a) CITIZENSHIP. The supervisors of the checklist, or the town or city clerk, shall accept
9    from the applicant any one of the following as proof of citizenship: the applicant's birth certificate,
10   passport, naturalization papers if the applicant is a naturalized citizen, or any other reasonable
11   documentation which indicates the applicant is a United States citizen.
12                (b) AGE. Any reasonable documentation indicating the applicant will be 18 years of age or
13   older at the next election.
14                (c) DOMICILE.
15                    (1) A person who possesses one of the following qualified documents identifying the
16   applicant's name and the address claimed as domicile must present that document when applying for
17   registration: (i) New Hampshire driver's license or identification card issued under RSA 260:21, RSA
18   260:21-a, or RSA 260:21-b; (ii) New Hampshire resident vehicle registration; (iii) a picture identification
19   issued by the United States government that contains a current address; (iv) a government issued check,
20   benefit statement, or tax document.
21                    (2) A person who attests under penalty of voter fraud that they do not possess any of the
22   qualified documents listed in subparagraph (c)(1) may present any reasonable documentation of having
23   established a physical presence at the place claimed as domicile, having an intent to make that place their
24   domicile, and having taken a verifiable act to carry out that intent. The documentation must establish that
25   it is more likely than not that the applicant has a domicile and intends to maintain that domicile, as defined
26   in this chapter, at least until election day, in the town or ward in which they desire to vote. Reasonable
27   documentation may include, but is not limited to, evidence of:
28                        (A) Having established domiciliary at the location of an institution of learning the
29   applicant attends, as set forth in RSA 654:1, I-a;
30                        (B) Renting or leasing an abode at that place for a period of more than 30 days, to
31   include time directly prior to an election day;
32                        (C) Purchasing an abode at that place;
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1                             (D) Enrolling the applicant's dependent minor child in an established public or private
2    elementary or secondary school which serves the town or ward of that place, using the address where the
3    registrant resides;
4                             (E) Listing that place as the person's physical residence address on state or federal
5    tax forms, other government identification showing the address, or other government forms showing the
6    address;
7                             (F) Providing the address of that place to the United States Post Office as the
8    person's permanent address, provided it is not a postal service or commercial post office box;
9                             (G) Obtaining public utility services for an indefinite period at that place;
10                            (H) Arranging for a homeless shelter or similar service provider located in the town or
11   ward to receive United States mail on behalf of the individual; or
12                            (I) Any other reasonable documentation which establishes that it is more likely than
13   not that the applicant is domiciled at the address in the town or ward in which the applicant desires to
14   vote. An applicant whose domicile is at an abode of another and whose name is not listed on the
15   document offered as proof of domicile may provide a written statement from a person who is listed as
16   owner, property manager, or tenant on the document that the applicant resides at that address, signed by
17   that person under penalty of voting fraud if false information is provided.
18                 (d)     IDENTITY.    Any one of the following is presumptive evidence of the identity of an
19   applicant sufficient to satisfy the identity requirement of this section:
20                        (1) Photo driver's license issued by any state or the federal government.
21                        (2) United States passport, armed services identification, or other photo identification
22   issued by the United States government.
23                        (3) Photo identification issued by local or state government.
24                        (4) Any other evidence that reasonably establishes that it is more likely than not that the
25   person is who they claim to be, including verification of the person’s identity by the moderator or another
26   election official.
27       Residents of a nursing home or similar facility may prove their identity through verification of identity
28   by the administrator of the facility or by his or her designee. For the purposes of this section, the
29   application of a person whose identity has been verified by an official of a nursing home or similar facility
30   shall be treated in the same manner as the application of a person who proved his or her identity with a
31   photo identification.
32            II. The evidence described or presumptions established in paragraph I may be defeated by
33   evidence establishing that it is more likely than not that the applicant is not qualified as a voter.
34            III. Any person who is applying for registration as a voter and who is currently registered to vote
35   in a different town or ward in New Hampshire shall complete the voter registration form provided for in
36   RSA 654:7.       If the election official receiving the application confirms through the centralized voter
37   registration database required by RSA 654:45 that the applicant is currently registered to vote in New
38   Hampshire, the applicant shall prove identity and domicile, but shall not be required to prove his or her
39   age or citizenship.
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1            IV. A person who has registered to vote in the town or ward in which the person seeks to vote
2    prior to election day need not provide proof of citizenship, age, or domicile at the polling place on election
3    day, but shall provide proof of identification establishing that he or she is the same person who previously
4    registered to vote.
5            V. Any dispute as to whether a person has met the requirements to register to vote or to vote
6    shall be decided by the election official of the town or ward in charge of voter registration or in charge of
7    the polling place if the dispute arises at the polling place. A person aggrieved by the decision of said
8    official may take an immediate appeal to the superior court, which shall hear the appeal forthwith and shall
9    make every reasonable effort to decide the matter as soon as possible and before the close of the polls on
10   election day.
11       378:2 General Voter Registration; Voter Registration Form. RSA 654:7 is repealed and reenacted to
12   read as follows:
13       654:7 Voter Registration; Voter Registration Form.
14           I. Any person registering to vote shall be:
15                (a) At least 18 years of age on the day of the next election; and
16                (b) A United States citizen; and
17                (c) Domiciled in the town or city in which the applicant is registering to vote and not otherwise
18   disqualified to vote.
19           II. The applicant shall be required to produce appropriate proof of qualifications as provided in
20   RSA 654:12 and fill out the form as prescribed in paragraph III.
21           III.(a) Standard registration application forms shall be used throughout the state. The registration
22   forms shall be no larger than 8 ½ inches by 11 inches.
23                (b) The secretary of state shall prescribe the form of the voter registration form to be used for
24   voter registrations, transfers, or updates, which shall be in substantially the following form:
25   ___ NEW REGISTRATION I am not registered to vote in New Hampshire
26   ___ TRANSFER I am registered to vote in New Hampshire and have moved my voting domicile to a new
27   town or ward in New Hampshire
28   ___ NAME CHANGE/ADDRESS UPDATE I am registered to vote in this town/ward and have changed my
29   name/address
30       Date ____________________
31   VOTER REGISTRATION FORM
32   (Please print or type)
33   1. Name
34
35   Last (suffix) First Full Middle Name
36   2. Domicile Address
37
38   Street Ward Number
39
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1    Town or City Zip Code
2    3. Mailing Address if different than in 2
3
4    Street
5
6    Town or City Zip Code
7    4. Place and Date of Birth
8
9        Town or City State
10   Date____________________
11   5. Are you a citizen of the United States? Yes _____ No _____
12   If a naturalized citizen, give name of court where and date when naturalized
13
14   6. Place last registered to vote
15
16   Street Ward Number
17   I am not currently registered to vote elsewhere (initial here __________), or I request that my name be
18   removed as a registered voter in ______________________________ (fill in your address where
19   previously registered, street, city/town, state, and zip code)
20   7. Name under which previously registered, if different from above
21
22   8. Party Affiliation (if any)
23
24   9. Driver's License Number
25   _________________________
26   State
27
28   If you do not have a valid driver's license, provide the last four digits of your social security number
29   __________
30
31   My name is ____________________.                I am today registering to vote in the city/town of
32   ____________________, New Hampshire. If a city, ward number __________.
33   I understand that to vote in this ward/town, I must be at least 18 years of age, I must be a United States
34   citizen, and I must be domiciled in this ward/town.
35   I understand that a person can claim only one state and one city/town as his or her domicile at a time. I
36   understand that my domicile for voting is that one place from which I participate in democratic self-
37   government and that I have acted to carry out that intent.           By registering or voting today, I am
38   acknowledging that I am not domiciled or voting in any other state or any other city/town.
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1    In declaring New Hampshire as my domicile, I realize that I am not qualified to vote in the state or federal
2    elections in another state.
3    If I have any questions as to whether I am entitled to vote in this city/town, I am aware that a supervisor of
4    the checklist is available to address my questions or concerns.
5    I acknowledge that I have read and understand the above qualifications for voting and do hereby swear,
6    under the penalties for voting fraud set forth below, that I am qualified to vote in the above-stated
7    city/town, and, if registering on election day, that I have not voted and will not vote at any other polling
8    place this election.
9
10   Date                                Signature of Applicant
11       In accordance with RSA 659:34, the penalty for knowingly or purposely providing false information
12   when registering to vote or voting is a class A misdemeanor with a maximum sentence of imprisonment
13   not to exceed one year and a fine not to exceed $2,000. Fraudulently registering to vote or voting is
14   subject to a civil penalty not to exceed $5,000.
15       378:3 General Voter Registration; Registering at the Polling Place; Election Day Registration. RSA
16   654:7-a is repealed and reenacted to read as follows:
17       654:7-a Registering at the Polling Place; Election Day Registration.
18              I. Any person whose name is not on the checklist but who is otherwise a qualified voter shall be
19   entitled to vote by requesting to be registered to vote at the polling place on election day. The applicant
20   shall be required to produce appropriate proof of qualifications as provided in RSA 654:12. If registered,
21   the voter may then vote at that election.
22              II. Any person who is waiting to register to vote at the polling place on election day at the time
23   scheduled for the closing of the polls shall be allowed to vote if determined to be qualified to register.
24       378:4 Election Procedure; Challenge of Voter; Affidavit. RSA 659:27 is repealed and reenacted to
25   read as follows:
26       659:27 Challenge of Voter; Affidavit.
27              I. A voter offering to vote at any state election may be challenged by any other voter registered in
28   the town or ward in which the election is held, an election official, a challenger appointed by a political
29   committee pursuant to RSA 666:4, or a challenger appointed by the attorney general pursuant to RSA
30   666:5.
31              II. Upon receipt of a written challenge, the moderator shall determine if the challenge to the ballot
32   is well grounded. If the moderator determines that it is more likely than not that the challenge is well
33   grounded, the moderator shall not receive the vote of the person so challenged.               If the moderator
34   determines that the challenge is not well grounded, the moderator shall permit the voter to vote.
35       378:5 Challenges; Asserting a Challenge. RSA 659:27-a is repealed and reenacted to read as
36   follows:
37       659:27-a Asserting a Challenge.
38              I. No challenge may be asserted except in the form of a signed affidavit, under oath administered
39   by an election official, in the following form:
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1                          INFORMATION ON THE PERSON MAKING THE CHALLENGE
2    Name of Person Making the Challenge:
3
4    Last Name First Name Middle Name/Initial
5
6    Party affiliation
7
8    If the person making a challenge is a voter: physical address-- street name & number
9
10   If the person is a political party or attorney general appointee: mailing address & phone number
11
12   The challenger's qualifications to assert the challenge
13   INFORMATION ON THE VOTER BEING CHALLENGED: The person making the challenge shall
14   complete the following:
15   Name being used by the voter who you wish to challenge:
16   ____________________________________
17   Last Name First Name Middle Name
18
19   GROUNDS FOR THE CHALLENGE: The person making the challenge shall indicate the ground on which
20   the challenge is made (check all grounds that apply).
21   ___ The person seeking to vote is not the individual whose name he or she has given
22   ___ The person seeking to vote has already voted in the election at (name polling place) ____________
23   at approximately (state time if known) __________
24   ___ The person seeking to vote is disqualified as a voter by conviction of a willful violation of the elections
25   laws (state offense, court, and date of conviction)
26   ___ The person seeking to vote is under 18 years of age
27   ___ The person seeking to vote is not a United States Citizen
28   ___ The person seeking to vote is not domiciled in the town or ward where he or she is seeking to vote
29   (state person's true domicile--town/city)
30   ___ The person seeking to vote does not reside at the address listed for that person on the checklist
31   ___ The person seeking to vote is an incarcerated convicted felon who is currently sentenced to
32   incarceration (state name of institution person is in)
33   ___ This is a primary and the person seeking to vote in the (state political party name) __________
34   primary is not a declared member of the party he or she claims to be affiliated with
35   ___ The person seeking to vote is ineligible to vote pursuant to the following state or federal statute or
36   constitutional provision:
37   BASIS FOR THE CHALLENGE: The person making the challenge shall state the specific source of the
38   information or personal knowledge upon which the challenge of the particular individual is based:
39   OATH: The person making the challenge shall complete the following:
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1    I hereby swear and affirm, under the penalties of perjury, that to the best of my knowledge and belief the
2    information above is true and correct.
3    ____________________
4    (Signature of challenger)
5
6    On the date shown above, before me, __________ (print name of notary public, justice of the peace,
7    election officer), appeared __________ (print name of person whose signature is being notarized), known
8    to me or satisfactorily proven (circle one) to be the person whose name appears above, and he or she
9    subscribed his or her name to the foregoing affidavit and swore that the facts contained in this affidavit are
10   true to the best of his or her knowledge and belief.
11   ____________________
12   Notary Public/Justice of the Peace/Official Authorized by RSA 659:30
13
14   TO BE COMPLETED BY THE MODERATOR RULING ON THE CHALLENGE:
15   If the ground at issue is age, citizenship, domicile, or identity: The supervisors of the checklist have ruled
16   that the challenged voter is: qualified as a voter; not qualified as a voter (circle one).
17   The moderator rules on challenges based on other grounds: The moderator rules that the challenge is:
18   well grounded; not well grounded (circle one).
19   ____________________________________
20   Signature of Moderator or Election Official
21           II.(a) A challenge may be asserted only upon personal knowledge or other basis of probable
22   cause that the challenged voter is ineligible to vote. No challenge may be accepted unless one of the
23   following grounds is asserted and specific facts are offered in support of such grounds:
24                    (1) The person seeking to vote is not the individual whose name he or she has given.
25                    (2) The person seeking to vote has already voted in the election at the time and place
26   specified in the challenge.
27                    (3) The person seeking to vote is disqualified as a voter by conviction of a willful violation
28   of the elections laws, such conviction having been for the offense specified in the challenge.
29                    (4) The person seeking to vote is under 18 years of age.
30                    (5) The person seeking to vote is not a United States citizen.
31                    (6) The person seeking to vote is not domiciled in the town or ward where he or she is
32   seeking to vote because the person’s true domicile is in the town or city specified in the challenge.
33                    (7) The person seeking to vote does not reside at the address listed for that person on
34   the checklist.
35                    (8)   The person seeking to vote is an incarcerated convicted felon who is currently
36   sentenced to incarceration in the institution specified in the challenge.
37                    (9) The person is attempting to vote in a primary and the person is not a declared
38   member of the party with which he or she claims to be affiliated.
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1                          (10) The person is ineligible to vote pursuant to some other state or federal statute or
2    constitutional provision specified in the challenge.
3                   (b)     Before ruling on the challenge, the moderator shall give the challenged voter an
4    opportunity to be heard. A person aggrieved by the moderator’s decision on a voter challenge may obtain
5    immediate review of the decision in the superior court pursuant to RSA 654:12, V.
6        378:6 Obtaining a Ballot; Affidavit Ballots Removed. RSA 659:13, I(c) is repealed and reenacted to
7    read as follows:
8                   (c)(1) If the voter does not have a valid photo identification, the ballot clerk shall direct the
9    voter to see the supervisor of the checklist.
10                         (2) The supervisor of the checklist shall review the voter's qualifications and determine if
11   the voter's identity can be verified.
12               If the supervisor of the checklist determines that the voter’s qualifications and identity are
13   established, the voter shall be allowed to vote. If the supervisor of the checklist determines that the
14   voter’s qualifications and identity have not been established, the voter shall not be allowed to vote. A
15   voter not allowed to vote as a result of the determination of the supervisor of the checklist may take an
16   immediate appeal to the superior court as provided in RSA 654:12, V.
17       378:7 Voting Procedure; Obtaining a Ballot. Amend RSA 659:13, II(b) - (e) to read as follows:
18                  [(b)    In addition to the forms of photo identification authorized in subparagraph (a), the
19   identification requirements of paragraph I may be satisfied by verification of the person's identity by a
20   moderator or supervisor of the checklist or the clerk of a town, ward, or city, provided that if any person
21   authorized to challenge a voter under RSA 659:27 objects to such verification, identifies the reason for the
22   objection in writing, and states the specific source of the information or personal knowledge upon which
23   the challenge of the photo identification is based, the voter shall be required to execute a challenged voter
24   affidavit as if no verification was made. When an election official uses personal recognizance as a
25   substitute for required documentation under this section, the moderator or clerk shall print in the margin of
26   the checklist, next to the name of the voter so qualified, one of the following to identify the official who
27   validated the voter: "P-x-AB" where "P" indicates personal recognizance; "x" shall be "M" for moderator or
28   "C" for clerk; and AB are the first and last initials of the moderator or clerk. By initialing the checklist, the
29   moderator or clerk personally affirms, under penalty of perjury, the identity of the voter they are qualifying
30   to vote.]
31                  [(c)] (b) The secretary of state shall post the lists of educational institutions provided by the
32   commissioner of the department of education under RSA 21-N:4, VII on the department of state's website,
33   and otherwise shall make such lists available to local election officials.
34                  [(d)] (c) The secretary of state shall provide training for supervisors of the checklist on how
35   the nonpublic data in the statewide centralized voter registration database may be used to satisfy voter
36   identification requirements.
37                  [(e)] (d) The secretary of state shall develop and make available an informational pamphlet
38   explaining the procedure established in RSA 260:21 for obtaining a picture identification card for voter
39   identification purposes only.
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1        378:8 Election Procedure; Challenges; Record by Clerk. RSA 659:32 is repealed and reenacted to
2    read as follows:
3        659:32 Record by Clerk. The town clerk shall record the name and domicile of all challenged voters,
4    the name and domicile of the person who challenged each such voter, the reason for each challenge, and
5    the ruling on each challenge by the moderator or election official.
6        378:9 Election Fund; Cross Reference Removed. Amend RSA 5:6-d, III to read as follows:
7            III. The secretary of state is authorized to accept, budget, and, subject to the limitations of this
8    paragraph, expend monies in the election fund received from any party for the purposes of conducting
9    elections, voter and election official education, the purchase or lease of equipment that complies with the
10   Help America Vote Act of 2002, Public Law 107-252, [or with RSA 659:13, V,] reimbursing the department
11   of safety for the actual cost of voter identification cards, election law enforcement, enhancing election
12   technology, making election security improvements, and improvements to related information technology,
13   including acquisition and operation of an automated election management system. With the exception of
14   federal and state portions of funds associated with the 2018 Election Reform Program, the secretary of
15   state shall not expend any monies in the election fund unless the balance in the fund following such
16   expenditures shall be at least 12 times the estimated annual cost of maintaining the programs established
17   to comply with the Help America Vote Act of 2002, Public Law 107-252.
18       378:10 Repeals. The following are repealed:
19           I. RSA 659:30 and 659:31, relative to affidavits related to election procedure and challenges.
20           II. RSA 660:17-a, relative to affidavit ballots; recounts.
21           III. RSA 659:23-a, relative to affidavit ballots.
22           IV. RSA 659:13, II(a)(6) - (7), relative to affidavit ballots.
23           V. RSA 659:13, III, IV, and V, relative to affidavit ballots and the secretary of state.
24       378:11 Effective Date. This act shall take effect 60 days after its passage.

     Approved: September 12, 2024
     Effective Date: November 11, 2024
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